Case 4:05-cr-40028-JPG   Document 101 Filed 02/28/06   Page 1 of 7   Page ID
                                   #212
Case 4:05-cr-40028-JPG   Document 101 Filed 02/28/06   Page 2 of 7   Page ID
                                   #213
Case 4:05-cr-40028-JPG   Document 101 Filed 02/28/06   Page 3 of 7   Page ID
                                   #214
Case 4:05-cr-40028-JPG   Document 101 Filed 02/28/06   Page 4 of 7   Page ID
                                   #215
Case 4:05-cr-40028-JPG   Document 101 Filed 02/28/06   Page 5 of 7   Page ID
                                   #216
Case 4:05-cr-40028-JPG   Document 101 Filed 02/28/06   Page 6 of 7   Page ID
                                   #217
Case 4:05-cr-40028-JPG   Document 101 Filed 02/28/06   Page 7 of 7   Page ID
                                   #218
